2/24/2021               Case MDL No. 2741 Document 2214-3
                                                      CM/ECFFiled
                                                            - casd 02/24/21 Page 1 of 48


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                                             U.S. District Court
                                  Southern District of California (San Diego)
                            CIVIL DOCKET FOR CASE #: 3:21-cv-00288-AJB-KSC


 Estate of Joseph Wallace et al v. Monsanto Company et al                            Date Filed: 02/17/2021
 Assigned to: Judge Anthony J. Battaglia                                             Jury Demand: Plaintiff
 Referred to: Magistrate Judge Karen S. Crawford                                     Nature of Suit: 365 Personal Inj. Prod.
 Cause: 28:1332 Diversity Action                                                     Liability
                                                                                     Jurisdiction: Diversity
 Plaintiff
 Estate of Joseph Wallace                                             represented by James Patrick Frantz
 by and through its personal representative                                          Frantz Law Group APLC
 Elizabeth Wallace                                                                   402 West Broadway
                                                                                     Suite 860
                                                                                     San Diego, CA 92101
                                                                                     (619)233-5945
                                                                                     Fax: (619)525-7672
                                                                                     Email: wshinoff@frantzlawgroup.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
 Plaintiff
 Elizabeth Wallace                                                    represented by James Patrick Frantz
 surviving spouse of Joseph Wallace                                                  (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED


 V.
 Defendant
 Monsanto Company

 Defendant
 DOES 1 through 100
 inclusive


  Date Filed            # Docket Text
  02/17/2021           1 COMPLAINT with Jury Demand against DOES 1 through 100, Monsanto Company (
                         Filing fee $ 402 receipt number ACASDC-15392107.), filed by Estate of Joseph Wallace,
                         Elizabeth Wallace. (Attachments: # 1 Civil Cover Sheet)

                            The new case number is 3:21-cv-288-AJB-KSC. Judge Anthony J. Battaglia and Magistrate
                            Judge Karen S. Crawford are assigned to the case. (Frantz, James)(smd) (sjt). (Entered:
                            02/17/2021)

https://ecf.casd.uscourts.gov/cgi-bin/DktRpt.pl?876801051106652-L_1_0-1                                                        1/2
2/24/2021              Case MDL No. 2741 Document 2214-3     CM/ECFFiled
                                                                    - casd 02/24/21 Page 2 of 48

  02/17/2021           2 Summons Issued.
                         Counsel receiving this notice electronically should print this summons and serve it in
                         accordance with Rule 4, Fed.R.Civ.P and LR 4.1. (smd) (sjt). (Entered: 02/17/2021)



                                                         PACER Service Center
                                                              Transaction Receipt
                                                                02/24/2021 13:54:02
                                   PACER
                                                     hllp1982        Client Code:     1417.0049
                                   Login:
                                                     Docket          Search           3:21-cv-00288-AJB-
                                   Description:
                                                     Report          Criteria:        KSC
                                   Billable
                                                     1               Cost:            0.10
                                   Pages:




https://ecf.casd.uscourts.gov/cgi-bin/DktRpt.pl?876801051106652-L_1_0-1                                           2/2
                       Case MDL No. 2741 Document 2214-3 Filed 02/24/21 Page 3 of 48
                      V'


AO 441   Smnmons in a Civil Action



                                     United States District Court
                                       SOUTHERN DISTRICT OF CALIFORNIA

    Estate of Joseph Wallace, by and through its personal
    representative Elizabeth Wallace; and Elizabeth
    Wallace, surviving spouse of Joseph Wallace

                                                                      Civil Action No. 21 cv0288-AJB-KSC
                                                     Plaintiff

    Monsanto Company; and DOES 1 through 100,
    inclusive




                                              SUMMONS IN A CIVIL ACTION
    To: (Defendant's nanze and address)
    Monsanto Company
  c
    2710 Gateway Oaks Drive, Suite 150N
    Sacramento, CA 95833


             A lawsuit has been filed against you.
           Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days
   if you are the United States or a United States agency, or an office or employee of the United States described
   in Fed. R. Civ. P. 12(a)(2) or (3) - You must serve on the plaintiff an answer to the attached complaint or a
   motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the
   plaintiff or plaintiff s attorney, whose name and address are:

              James Patrick Frantz
              402 West Broadway Suite 860
              San Diego, CA 92101
             (619)233-5945

         If you fail to respond, judgment by default will be entered against you for the relief demanded in the
   complaint. You also must file your answer or motion with the court.

    Date:                  2/17/21                               John Morrill
                                                                 CLERK OF CO URT
                                                                 S/                   S. Dunbar
                                                                           Signature of Clerk or Deputy Clerk




                                                                                        2-I ~1Zvzq
                       Case MDL No. 2741 Document 2214-3 Filed 02/24/21 Page 4 of 48
          --      -     - -          -   -   --      - - --          --                -      --       ---     -    --   -            -
AO 441   Sunmons in a Civil Action                                                                                              (Page 2)


    Civil Action No. 21cv0288-AJB-KSC                                                       Date Issued:           2/17/21

                                                         PROOF OF SERVICE
                     (This section should not be filed with the court unless Nequined by Fed. R. Civ. P. 4(1))

             This summons for (name of individual and title, if any)
    was received by me on (date)
             I personally served the summons on the individual at (place)

                                                                                     on                                  : or
             I left the summons at the individual's residence or place of abode with (name)

                                                               a person of suitable age and discretion who resides there,
             on (date)                               , and mailed a copy to the individual's last known address; or

             I served the summons on (name of the individual)                                                        , who is
             designated by law to accept service of process on behalf of (name of organization)

                                                                                           on (date)                 ; or
             I returned the summons unexecuted because                                                                          or
             Other (specify):


             My fees are $                        for travel and $                for services, for a total of $
             I declare under penalty of perjury that this information is true.

    Date:
                                                                                      Server's Signature


                                                                                   Printed name and title


                                                                                      Server's address

                NOTICE OF RIGHT TO CONSENT TO TRIAL BY A UNITED STATES MAGISTRATE JUDGE
   IN ACCORDANCE WITH THE PROVISION OF 28 USC 636(C) YOU ARE HEREBY NOTIFIED THAT A U.S.
   MAGISTRATE JUDGE OF THIS DISTRICT MAY, UPON CONSENT OF ALL PARTIES, CONDUCT ANY OR
   ALL PROCEEDINGS, INCLUDING A JURY OR NON-JURY TRIAL, AND ORDER THE ENTRY OF A FINAL
   JUDGMENT.

   YOU SHOULD BE AWARE THAT YOUR DECISION TO CONSENT OR NOT CONSENT IS ENTIRELY
   VOLUNTARY AND SHOULD BE COMMUNICATED SOLELY TO THE CLERK OF COURT. ONLY IF ALL
   PARTIES CONSENT WILL THE TUDGE OR MAGISTRATE JUDGE WHOM THE CASE HAS BEEN ASSIGNED
   BE INFORMED OF YOUR DECISION.

   JUDGMENTS OF THE U.S. MAGISTRATE JUDGES ARE APPEALABLE TO THE U.S. COURT OF APPEALS IN
   ACCORDANCE WITH THIS STATUTE AND THE FEDERAL RULES OF APPELLATE PROCEDURE.
             a
                  Case MDL No. 2741 Document 2214-3 Filed 02/24/21 Page 5 of 48
          ) Case'3:21-cV- 00288-AJB-KSC Document 1-1 Filed 02/17/21 PageID.44 Page 1 of 1
   (Rev.06/17)
                                                                     CNIL COVER SI3EET
 IS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadinps or other papers as required by law, except as
 -ded by 1oca1 rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is requtred f0r the use of the Clerk of Court for the
  rse of initiating the civil docket sheet. (SEE INSTRUCTIONS ONNEXTPAGE OFTHISFORbI.)

 ►) PLAINTITFS                                                                                           DEFENDANTS
 iEPH WALLACE                                                                                            MONSANTO COMPANY
9)) County of Residence ofFirst Listed Plaintiff            San DIegO, California                        County ofResidence of First Listed Defendant             St. Lol11S, MISSOuri
                         (EXCEPTlN U.S. PLAINTIFF CASES)                                                                               (IN U.S. PLAINTIFF CASES ONLI)
                                                                                                         NOTE:        IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

    Attomeys (Firnt Name, Address, and Telephone Namber)                                                 Attorneys (If.Yno wr)
 ies P. Frantz, Esq., / William B.Shinoff, Esq.
 ntz Law Group, APLC, 402 W. Broadway,                                                                    ' 21CV0288 AJB KSC
  860, San Diego, CA 92101. T: (619) 233-5945

 f3ASIS OF JUIPISDICTION (Place an 'X" in OneBox Only)                                     M. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Boxfor PlairrtifJ
                                                                                                    (For Diversit), Cases Ottl})                                      and One Boxfor Defertdant)
  U.S. Govemment                 O 3 Federal Question                                                                            PTF     DEF                                         PTF   DEF
    Plaintiff                            (U.S GovernmentNot a Party)                           Citizen ofThis State                1     ❑ 1    Incorporated or Principal Place       ❑ 4. O 4
                                                                                                                                                  ofBusiness In This State
  U.S. Govemment                   4 Diversity                                                 Citizen of Anotber State          O 2     ❑ 2    Incorpomted and Principal Place       ❑ 5     (bC 5
    Defendant                            (Irtdicate Cirizensbip ofParlies in Iteat III)                                                            of Business In Another State

                                                                                               Citizen or Subjeet of a           ❑ 3     ❑ 3    Foreign Nation                        ❑ 6     ❑ 6
                                                                                                 Fore'ignCoutilry
 NATURE ®F SUIT (Place mr "X" in One Box Onlv)                                                                                            Click here for: Nature of Suit Code Descrintions.
   :? CQN FRa1C'f       I; . ;                           TORTs . :                  - :         :.TURFEITURE/PENAT T1                      1rANKROPTCY i                 OTSLRrSTATIITES;~ A4::
  0 Insurance                      PERSONAL INJIIRY              PERSONAL INJURY ❑ 625 Drug Relatcd Seizure             O 422 Appea128 USC 158        O 375 False Claims Act
  fl Marine                      ❑ 310 Airplane               X 365 Personal Injury -         of Property 21 USC 881 ❑ 423 Withdmwal                 ❑ 376 Qui Tam (31 USC'
  il Mlller Act                  O 315 Airplane Product             Product Liability  O 690 Other                               28 USC 157                 3729(a))
 0 Negotiable Instmment                Liability              ❑ 367 Health Care/                                                                     O 400 State Reapportionment
 0 Recovcry of Overpayment ❑ 320 Assault, Libel &                  Pharmaceutical                                         d_, AROP-ER7tY=1tIGH'fS    ❑ 410 Antitrust
     & Enforcement of Jttdgment        Slander                     Personal Injury                                      ❑ 820 Copyrights             ❑ 430 Banks and Banking
  I Medicare Act                ❑ 330 Federal Employers'           Product Liability                                    ❑ 830 Patent                 ❑ 450 Commerce
  ? Recovery of Defaulted              Liability             ❑ 368 Asbestos Personal                                    ❑ 835 Patent- Abbreviated    ❑ 460 Deportation
     Student Loans              ❑ 340 Marine                        Injury Prodoct                                              New Drug Application O 470 Racketeer Influenced and
    (Excludes Vetzraus)         ❑ 345 Marine Product                Liability                                           O 840 Trademark                    Corrupt Organizations
  ; Recovery of Overpaymeut            Liability               PERSONAL PROPERTY -                 L' OR               - --eS0C1AU-,SECUR1TV,,       ❑ 480 Consumer Credit
    of Veteran's Bencfits       ❑ 350 Motor Vehicle          ❑ 370 Other Fraud        ❑ 710 Fair Labor Standards        ❑ 861 HIA (1395ft)           ❑ 490 Cable/Sat TV
 U Stockholders' Suits          ❑ 355 Motor Vehicle          ❑ 371 Tmth in Lending            Act                       ❑ 862 Black Lung (923)       ❑ 850 Securities/Commodities/
 tI Other Contract                    Product Liability      ❑ 380 Other Personal     ❑ 720 Labor/Management            ❑ 863 DIWC/DIWW (405(g))            Exchange
 i Contract Product Liability ❑ 360 Other Personal                 Property Damage            Relations                 ❑ 864 SSID Title XVI         O 890 Other Stamtory Acfions
 n Franchise                          Injury                 ❑ 385 Property Damage    CJ 740 Railway Labor Act         ❑ 865 RSI (405(g))            ❑ 891 Agricultural Acts
                                ❑ 362 Personal Injury-             Product LiabiHty   ❑ 751 Family and Medical                                       ❑ 893 Environmental Matters
                                      Medical Malpmctice                                      Leave Act                                              ❑ 895 Freedom of [nformation
    REAI`>-PRUPER7'Y '              CIVII;72IGRTS %•~N`'PRTSO ER=PET1T10N6 s= ❑ 790 Other Labor Litigation              k~L! '';TA;IiS111TStns              Act
U Land Condenmation             O 440 Other Civil Rights        Habeas Corpus:        ❑ 791 Employee Retirement        ❑ 870 Taxes (U.S. Plaintiff   ❑ 896 Arbitration
o Foreclosure                   O 441 Voting                 ❑ 463 Alien Detainee            Income Security Act                 orDefendant)        ❑ 899 Adnrinistmtive Procedure
1) Rent Lease & Ejectment       ❑ 442 Employment             ❑ 510 Motions to Vacate                                   ❑ 871 IRS—Third Party               Act/Review or Appeal of
oTorts to Land                  O 443 Housingt                     Sentence                                                     26 USC 7609                AgencyDecision '
 i Tort Product Liability             Accommodations         ❑ 530 Gencral                                                                           ❑ 950 Constitutionality of
 l All Other Real Property      O 445 Amcr. w/Disebilitics - O 535 Death Penalty             11611VIIGRAIXOj9r:: `                                         State Stamtes
                                      Emploptnent               Other:                ❑ 462 Naturalization Application
                                O 446 Amer. w/Disabilities - O 540 Mandamus & Other ❑ 465 Other Immigration
                                     Other                   O 550 Civil Rights                      Actions
                            ❑ 448 Education                  ❑ 555 Prison Condition
                                                             ❑ 560 Civil Detainee -
                                                                   Conditions of
                                                                      Confinement
OIZIGIN (Place atz "X" in One Box Onl})
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 Proceeding                                                                                                                                     0                            O 8 Multidistrict
                    State Court                             Appellate Court                   Reopened                 Another District               Litigation -               Litigation -
                                                                                                                          (specify)                   Transfer                  Direct File
                                  Cite the U.S. Civil Statute under which you are filing (Do not citeJarisdtcttonal statrrtes rrnless diversity):
                Southern District of California. 28 U.S.C. 1391.• 28 U.S.C. 1332 a 1'"FIFRA" or "Act° 7 U.S.C. 136 et se
CAUSE OF ACTION Brief description of cause:
                                  Design Defect; Inade uate Warning; Breach of Ex ress Warranty; Ne ligence; Fraud; Wrongful Death
  REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION          DEMAND $                                                                       CHECK YES only if demanded in complaint;
  COiVIPLAINT:        UNDER RULE 23, F.R.Cv.P.                                                                                               JURY DEIVIAND:                 Yes      ❑ No
(. RELATED CASE(S)
                    (See in.rU nctions):
   IF ANY                                JUDGE Vince Chhabria                                                                          DOCKETNUMSER 3:16-md-02741-VC                               _
                                                                SIGNATURE OF ATTORNEY OF RF.COlt3y
0/2021                                                    s/James                P. Frantz                   I ,~/

CEIPT #                 AMOUNT                                       APPLYING IFP                             -/      JUDGE                          MAG. NDGE
          Case MDL No. 2741 Document 2214-3 Filed 02/24/21 Page 6 of 48
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 1  James P. Frantz, Esq. (SBN 87492)
 2 E: jpf@frantzlawgroup.com
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    402 West Broadway, Suite 860
 5
    San Diego, CA 92101
 6 Tel: (619) 233-5945
    Fax: (619) 525-7672
 7
-g- Attornevs_for-P-laintiffs-- - -- — ---

 9
10                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
il
12 ESTATE OF JOSEPH WALLACE, by
                                                       '21CV0288 AJB KSC
   and through its personal representative
13 ELIZABETH WALLACE; and
14 ELIZABETH WALLACE, surviving
   spouse of JOSEPH WALLACE,                          COMPLAINT FOR DAMAGES
15                                                    AND DEMAND FOR JURY TRIAL
16                              Plaintiffs
17 I V.
l8   MONSANTO COMPANY; and
19 I DOES 1 through 100, inclusive
20
                                Defendants.
21
22
                                      COMPLAINT
23
           Plaintiffs, the Estate of Joseph Wallace, by and tlirough its personal
24
      representative, Elizabeth Wallace, surviving spouse of Joseph Wallace and on
35
      behalf of all legal heirs of Joseph Wallace (collectively "Plaintiffs"), by and
36
      through their undersigned attorneys, hereby bring the following Complaint for
37
      damages against Defendant Monsanto Company and allege the following:
28


                                    Complaint and Demand for Jury

                                                  1
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 1                                   NATURE OF THE CASE
 2           1.    This is an action for damages suffered by Plaintiffs as a direct and
 3    proximate result of Defendant's negligent and wrongful conduct in connection
 4    with the design, development, manufacture, testing, packaging, promoting,
 5    marketing, advertising, distribution, labeling, and/or sale of the herbicide
 6    Roundup®, containing the active ingredient glyphosate.
 7      _   2._    Plaintiffs maintain_ thatlto.undup®-and/or-glyphosate-is-defective,—
 8    dangerous to human health, unfit and unsuitable to be marketed and sold in
 9    commerce, and lacked proper warnings and directions as to the dangers
10    associated with its use.
11          3.     Plaintiffs' injuries those striking thousands of similarly situated
12   victims across the country, were avoidable.
13                                             PARTIES
14          4.     Decedent, Joseph Wallace (hereinafter "Decedent") or "Mr.
15    Wallace"), was a natural person who, at all times relevant here, was a resident of
16    San Diego County, California.
17          5.     Plaintiff, Elizabeth Wallace, wife of Decedent, is a natural person
18     who, at all times relevant herein, has resided in San Diego County, California.
19     She is the duly appointed Personal Representative of the Estate of Joseph
20     Wallace, a California Estate. Plaintiffs bring this action for wrongful death
21     damages and personal injuries sustained by exposure to Roundup®
22     ("Roundup") containing the active ingredient glyphosate and the surfactant
23     polyethoxylated tallow amine (hereinafter "POEA"). As a direct and proximate
24     result of being exposed to Roundup, Decedent developed Non-Hodgkin's
25     Lymphoma (hereinafter "NHL") and died as a result thereof on date of death.
26          6.     "Roundup" refers to all formulations of Defendant's Roundup
27     products, including, but not limited to, Roundup Concentrate Poison ivy and
28     Tough Brush Killer 1, Roundup Custom Herbicide, Roundup D-Pak
       Herbicide, Roundup Dry Concentrate, Roundup Export Herbicide, Roundup
                                      Complaint and Demand for Jury

                                                   2
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 1     Fence & Hard Edger 1, Roundup Garden Foam Weed & Grass Killer,
 2     Roundup Grass and Weed Killer, Roundup Herbicide, Roundup Original 2k
 3     Herbicide, Roundup Original II Herbicide, Roundup Pro Concentrate,
 4     Roundup Prodry Herbicide, Roundup Promax, Roundup Quik Stik Grass and
 5     Weed Killer, Roundup Quikpro Herbicide, Roundup Rainfast Concentrate
 6     Weed & Grass Killer, Roundup Rainfast Super Concentrate Weed & Grass
 7     Killer,
            — —Roundup_
                ——      Ready_to-Use-Extended Control -W-eed-&-Grass-Kil-ler- 1 Plus--
 8     Weed Preventer, Roundup Ready-to-Use Weed & Grass Killer, Roundup
 9     Ready-to-Use Weed and Grass Killer 2, Roundup Ultra Dry, Roundup Ultra
10     Herbicide, Roundup Ultramax, Roundup VM Herbicide, Roundup Weed &
11     Grass Killer Concentrate, Roundup Weed & Grass Killer Concentrate Plus,
12     Roundup Weed & Grass Killer Ready-to-Use Plus, Roundup Weed & Grass
13     Killer Super Concentrate, Roundup Weed & Grass Killer 1 Ready-to-Use,
14     Roundup WSD Water Soluble Dry Herbicide Deploy Dry Herbicide, or any
15     other formulation of containing the active ingredient glyphosate.
16         7.     Defendant MONSANTO COMPANY (hereinafter "Defendant" or
17    "Monsanto") is incorporated in the state of Delaware, with a principle place of
18     business in St. Louis, Missouri.
19                                JURISDICTION AND VENUE
20         8.     This Court has jurisdiction over Defendant and this action pursuant
21     to 28 U.S.C. § 1332 because there is complete diversity of citizenship between
22     Plaintiffs and Defendants and the amount in controversy exceeds $75,000,
23     exclusive of interest and cost.
24         9.     This Court also has supplemental jurisdiction pursuant to 28 U.S.C.
25    § 1367.
26         10.    Defendant has consented to personal jurisdiction in the State of
27    Missouri by residing and registering to do business in this state, and
28    designating a registered agent for service of process within this state.


                                         Complaint and Demand for Jury

                                                      3
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 1         11.     Venue is proper within this district pursuant to 28 U.S.C. § 1391 in
 2     that Defendant's principal place of business is in St. Louis, Missouri, and
 3     Plaintiffs' injuries arise, in whole or in part, out of Defendant's activities in
 4     Missouri.
 5                                 FACTUAL ALLEGATIONS
 6         12.     At all times relevant herein, Defendant was in the business of, and
 ? _ aia, _design,_ research, _manufacture,-test; -advertise,-promote,- market,- seil,—
 8     distribute, and/or has acquired and is responsible for the commercial herbicide
 9     Roundup.
10       13.       Monsanto is a multinational agricultural biotechnology corporation
11   based in St. Louis, Missouri. It is the world's leading producer of glyphosate.
12   Defendant discovered the herbicidal properties of glyphosate during the 1970's
13   and subsequently began to design, research, manufacture, sell and distribute
14   glyphosate based "Roundup" as a broad-spectrum herbicide.
15       14.       Glyphosate is the active ingredient in Roundup.
16        15.      Glyphosate is a broad-spectrum herbicide used to kill weeds and
17    grasses known to compete with commercial crops grown around the globe.
18        16.      Glyphosate is a"non-selective" herbicide, meaning it lcills
19    indiscriminately based only on whether a given organism produces a specific
20    enzyme, 5-enolpyruvylshikimic acid-3-phosphate synthase, known as EPSP
21    synthase.
22       17.       Glyphosate inhibits the enzyme 5-enolpyruvylshikimic acid-3-
23   phosphate synthase that interferes with the shikimic pathway in plants, resulting
24   in the accumulation of shikimic acid in plant tissue and ultimately plant death.
25        18.      Sprayed as a liquid, plants absorb glyphosate directly through their
26    leaves, stems, and roots, and detectable quantities accumulate in the plant
27    tissues.
28




                                     Complaint and Deinand for Jury

                                                   4
          f    Case MDL No. 2741 Document 2214-3 Filed 02/24/21 Page 10 of 48
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    1        19.        Each year, approximately 250 million pounds of glyphosate are
   2    sprayed on crops, commercial nurseries, suburban lawns, parks, and golf
    3   courses. This increase in use has been driven largely by the proliferation of
   4    genetically engineered crops, crops specifically tailored to resist the activity of
   5    I glyphosate.
   6         20.        Defendant is intimately involved in the development, design,
__ _7   manufacture,_ marketing,—sa-le,—and/or- distr-ibution- -of -geneticaliy --modified
    8   ("GMO") crops, many of which are marketed as being resistant to Roundup i.e.,
   9    "Roundup ReadyO." As of 2009, Defendant was the world's leading producer
  10    of seeds designed to be Roundup ReadyO. In 2010, an estimated 70% of corn
  11    and cotton, and 90% of soybean fields in the United States contained Roundup
  12    ReadyO seeds.
  13         21.        The original Roundup, containing the active ingredient glyphosate,
  14    was introduced in 1974. Today, glyphosate products are among the world's
  15    most widely used herbicides.l
  16        22.         For nearly 40 years, consumers, farmers, and the public have used
  17    Roundup, unaware of its carcinogenic properties.
  18                            Registration of Herbicides Under Federal Law
  19          23.       The manufacture, formulation and distribution of herbicides, such
  20     as Roundup, are regulated under the Federal Insecticide, Fungicide, and
  21     Rodenticide Act ("FIFRA"), 7 U.S.C. § 136 et seq. FIFRA requires that all
  22     pesticides be registered with the Environmental Protection Agency ("EPA)
  23     prior to their distribution, sale, or use, except as described by FIFRA 7 U.S.C.
  24     § 136a(a).
  25          24.       The EPA requires as part of the registration process, among other
  26     requirements, a variety of tests to evaluate the potential for exposure to
  27     pesticides, toxicity to people and other potential non-target organisms, and
  28


        I Backgrounder, History of Monsanto's Gly&qW~tlqfibipjks.Mg F&95.

                                                          5
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 1     other adverse effects on the environment. Registration by the EPA, however, is
 2     not an assurance or finding of safety. The determination the EPA makes in
 3     registering or re-registering a product is not that the product is "safe," but
 4     rather that use of the product in accordance with its label directions "will not
 5     generally cause unreasonable adverse effects on the environment." 7 U.S.C. §
 6     136(a)(c)(5)(D).
 7       25.      FIFRA defines_"unreasonable-adverse-effects-on-the-environinent"--
 8    to mean "any unreasonable risk to man or the environment, taking into account
 9    the economic, social, and environmental costs and benefits of the use of any
10    pesticide." 7 U.S.C. § 136(bb). FIFRA thus requires the EPA to make a
11    risk/benefit analysis in determining whether a registration should be granted or
12    allowed to continue to be sold in commerce.
13       26.      The EPA and the State of Missouri registered Roundup for
14    distribution, sale, and manufacture in the United States and the State of
15    Missouri.
16       27.      FIFRA generally requires that the registrant, Monsanto, conduct
17   health and safety testing of pesticide products. The government is not required,
18   nor is it able, to perform the product tests that are required of the manufacturer.
19       28.      The evaluation of each pesticide product distributed, sold, or
20   manufactured is completed at the time the product is initially registered. The
21    data necessary for registration of a pesticide has changed over time. The EPA is
22   now in the process of re-evaluating all pesticide products through a
23   Congressionally-mandated process called "re-registration." 7 U.S.C. § 136a-1.
24   In order to reevaluate these pesticides, the EPA demands the completion of
25   additional tests and the submission of data for the EPA's review and evaluation.
26       29.      In the case of glyphosate and Roundup, the EPA had planned on
27   releasing its preliminary risk assessment — in relation to the registration process
28   — no later than July 2015. The EPA completed its review of glyphosate in early


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 1   2015, but delayed releasing the assessment pending further review in light of the
 2   World Health Organization's March 24, 2015 finding that glyphosate is a
 3   "probable carcinogen" as demonstrated by the mechanistic evidence of
 4   carcinogenicity in human and sufficient evidence of carcinogenicity in animals.
 5      Monsanto's False Representation Regarding The Safety of Roundup®
 6      30.       In 1996, the New York Attorney General ("NYAG") filed a lawsuit
 7 I aizainst Monsanto based on
 8   products.    Specifically,   the       lawsuit       challenged    Monsanto's   general
 9   representations that its spray-on glyphosate-based herbicides, including
10   Roundup, were "safer than table salt" and "practically non-toxic" to mammals,
11   birds, and fish. Among the representations the NYAG found deceptive and
12   misleading about the human and environmental safety of Roundup are the
13 I following:
14
15         a) Remember that environmentally friendly Roundup herbicide is
              biodegradable. It won't build up in the soil so you can use Roundup
16            with confidence along customers' driveways, sidewalks and fences...
17
           b) And remember that Roundup is biodegradable and won't build up in
18
              the soil. That will give you the environmental confidence you need to
19            use Roundup everywhere you've got a weed, brush, edging or
20            trimming problem.

21         c) Roundup biodegrades into naturally occurring elements.
22
           d) Remember that versatile Roundup herbicide stays where you put it.
23            That means there's no washing or leaching to harm customers' shrubs
24            or other desirable vegetation.
25
           e) This non-residual herbicide will not wash or leach in the soil. It ...
26            stays where you apply it.
27
           f) You can apply Accord with "confidence because it will stay where
28            you put it" [;] it bonds tightly to soil particles, preventing leaching.
              Then, soon after application, soil microorganisms biodegrade Accord
              into natural products.
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 1            g) Glyphosate is less toxic to rats than table salt following acute oral
                 ingestion.
 2

 3            h) Glyphosate's safety margin is much greater than required. It has over
                 a 1,000-fold safety margin in food and over a 700-fold safety margin
 4
                 for workers who manufacture it or use it.
 5

 6
              i) You can feel good about using herbicides by Monsanto. They carry a
                 toxicity category rating of 'practically non-toxic' as it pertains to
              — -mammals,-birds- and-fish.-             -                           —
 8
              j)    "Roundup can be used where kids and pets will play and breaks down
 9
                    into natural material." This ad depicts a person with his head in the
10                  ground and a pet dog standing in an area which has been treated with
11
                    Roundup. 12
           31.         On No v ember 19, 1996, Monsanto entered into an Assurance of
12
     Discontinuance with NYAG, in which Monsanto agreed, among other things,
13
     "to cease and desist from publishing or broadcasting any advertisements [in
14
     New York] that represent, directly or by implication" that:
15
16
              a) its glyphosate-containing pesticide products or any component thereof
17               are safe, non-toxic, harmless or free from risk.
18
              b) its glyphosate-containing pesticide products or any component thereof
19
                 manufactured, formulated, distributed or sold by Monsanto are
20               biodegradable;
21
              c) its glyphosate-containing pesticide products or any component thereof
22               stay where they are applied under all circumstances and will not move
23               through the environment by any means.
24            d) its glyphosate-containing pesticide products or any component thereof
25               are "good" for the environment or are "known for their environmental
                 characteristics."
26
27            e) glyphosate-containing pesticide products or any component thereof are
28               safer or less toxic than common consumer products other than

     z Attorney General of the State of New York, In the Matter of Monsanto Company, Assurance of Discontinuance
     Pursuant to Executive Law § 63(15) (Nov. 1(906~laint and Demand for Jury

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 1   I                  herbicides;

 2                  f) its glyphosate-containing products or any component thereof might be
 3                     classified as "practically non-toxic.
 4                32.      Monsanto did not alter its advertising in the same manner in any
 5       state other than New York, and on information and belief still has not done so
 6           today.
 7               33. _ In 2009, France's highest court ruled that_Monsanto -had_not- told— ----
 g           the truth about the safety of Roundup. The French court affirmed an earlier
 9           judgment that Monsanto had falsely advertised its herbicide Roundup as
10       "biodegradable" and that it "left the soil clean."3
11                                    Evidence of Carcinogenicity dn Roundup
12                34.      As early as the 1980s, Monsanto was aware of glyphosate's
13       carcinogenic properties.
14                35.      On March 4, 1985, a group of the Environmental Protection
15       Agency's ("EPA") Toxicology Branch published a memorandum classifying
16       glyphosate as a Category C oncogene.4 Category C oncogenes are possible
17       human carcinogens with limited evidence of carcinogenicity.
lg                36.      In 1986, the EPA issued a Registration Standard for glyphosate
19       (NTIS          PB87-103214).        The     Registration       standard       required       additional
20           phytotoxicity, environmental fate, toxicology, product chemistry, and residue
21       chemistry studies. All of the data required was submitted and reviewed and/or
22       waived.s

23                37.      In October 1991 the EPA published a Memorandum entitled
24 "Second Peer Review of Glyphosate." The memorandum changed glyphosate's
25 classification to Group E(evidence of non-carcinogenicity for humans). Two
26       peer review committee members did not concur with the conclusions of the
27
         3 Monsanto Guilty in `False Ad' Row, BBC, Oct. 15, 2009, available at
         http://news.bbe.co.uk/2/hi/europe/8308903.stm.
         4 Consensus Review of Glyphosate, Casewell No. 661A. March 4, 1985. United States Environmental Protection
         Agency.

         5   http://www.epa.gov/oppsrrdl/reregistratioWWalgiwAg~ggtA/~h7f~f%Vdf

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  1    committee and one member refused to sign.6
  2            38.          In addition to the toxicity of the active molecule, many studies
  3    support the hypothesis that glyphosate formulations found in Defendant's
  4    Roundup products are more dangerous and toxic than glyphosate alone.' As
  5    early as 1991 evidence existed demonstrating that glyphosate formulations were
  6   significantly more toxic than glyphosate alone.g
  7 _          39. _        In_2002, _Julie_Marcpublished-a-study-entitled--"-Pesticide-Roundup— -- —        —
  8   Provokes Cell Division Dysfunction at the Level of CDK1/Cyclin B
  9   Activation."
10             40.          The study found that Defendant's Roundup caused delays in the
11    cell cycles of sea urchins, while the same concentrations of glyphosate alone
12    proved ineffective and did not alter cell cycles.
13             41.         In 2004, Julie Marc published a study entitled "Glyphosate-based
14    pesticides affect cell cycle regulation". The study demonstrated a molecular link
15    between glyphosate-based products and cell cycle dysregulation.
16             42.         The study noted that "cell-cycle dysregulation is a hallmark of
17    tumor cells and human cancer. Failure in the cell-cycle checkpoints leads to
18    genomic instability and subsequent development of cancers from the initial
19    affected cell." Further, "[s]ince cell cycle disorders such as cancer result from
20    dysfunction of unique cell, it was of interest to evaluate the threshold dose of
21    glyphosate affecting cells."9
22            43.          In 2005, Francisco Peixoto published a study showing that
23    Roundup's effects on rat liver mitochondria are much more toxic and harmful
24    than the same concentrations of glyphosate alone.
25
26
      6 Second Peer Review of Glyphosate, CAS No. 1071-83-6. October 30, 1881. United States Environmental
27    Protection Agency.

28 11 7 Martinez et al. 2007; Benachour 2009; Gasnier et al. 2010; Peixoto 2005; Marc 2004.
      88   Martinez et al. 1991.

      9    Molinari, 2000; Stewart et al., 2003.   Complaint and Demand for Jury

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 1       44.      The Peixotostudy suggested that the harmful effects of Roundup on
 2   mitochondrial bioenergetics could not be exclusively attributed to glyphosate
 3   and could be the result of other chemicals, namely the surfactant POEA, or
 4   alternatively due to the possible synergy between glyphosate and Roundup
 5   formulation products.
 6       45.      In 2009, Nora Benachour and Gilles-Eric Seralini published a study
 7
 8   embryonic, and placental cells.
 9       46.      The study used dilution levels of Roundup and glyphosate far
10   below agricultural recommendations, corresponding with low levels of residues
11   in food. The study concluded that supposed "inert" ingredients, and possibly
12   POEA, change human cell permeability and amplify toxicity of glyphosate
13   alone. The study further suggested that determinations of glyphosate toxicity
14   should take into account the presence of adjuvants, or those chemicals used in
15   the formulation of the complete pesticide. The study confirmed that the
16   adjuvants in Roundup are not inert and that Roundup is always more toxic than
17   its active ingredient glyphosate.
18       47.      The results of these studies were confirmed in recently published
19   peer-reviewed studies and were at all times available and/or known to
20   Defendant.
21       48.      Defendant or should have known that Roundup is more toxic than
22   glyphosate alone and that safety studies on Roundup, Roundup's adjuvants and
23   "inert" ingredients, and/or the surfactant POEA were necessary to protect
24   Plaintiffs from Roundup.
25      49.       Defendant knew or should have known that tests limited to
26   Roundup's active ingredient glyphosate were insufficient to prove the safety of
27   Roundup.
28


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 1           50.         Defendant failed to appropriately and adequately test Roundup,
 2    Roundup's adjuvants and "inert" ingredients, and/or the surfactant POEA to
 3    protect Plaintiffs from Roundup.
 4           51.         Rather than performing appropriate tests, Defendant relied upon
 5    flawed industry-supported studies designed to protect Defendant's economic
 6    interests rather than Plaintiffs and the consuming public.
__ 7 __ 52. __ _Despite_ __its _knowledge —that- Roundup was—considerably—more—
   8 dangerous than glyphosate alone, Defendant continued to promote Roundup as
 9    safe.
10                                 IARC Classification of Clyphosate
11           53.         The International Agency for Research on Cancer ("IARC") is the
12    specialized intergovernmental cancer agency the World Health Organization
13    (")ATHO") of the United Nations tasked with conducting and coordinating
14    research into the causes of cancer.
15           54.        An IARC Advisory Group to Recommend Priorities for IARC
16   Monographs during 2015-2019 met in April 2014. Though nominations for the
17   review were solicited, a substance must meet two criteria to be eligible for
18   review by the IARC Monographs: there must already be some evidence of
19   carcinogenicity of the substance, and there must be evidence that humans are
20   exposed to the substance.
21           55.        IARC set glyphosate for review in 2015-2016. IARC uses five
22   criteria for determining priority in reviewing chemicals. The substance must
23   have a potential for direct impact on public health; scientific literature to support
24   suspicion of carcinogenicity; evidence of significant human exposure; high
25   public interest and/or potential to bring clarity to a controversial
26   area and/or reduce public anxiety or concern; related agents similar to one given
27   high priority by the above considerations. Data reviewed is sourced preferably
28   from publicly accessible, peer-reviewed data.


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 1        56.      On March 24, 2015, after its cumulative review of human, animal,
 2   and DNA studies for more than one (1) year, many of which have been in
 3   Defendant's possession since as early as 1985, the IARC's working group
 4   published its conclusion that the glyphosate contained in Defendant's Roundup
 5   herbicide, is a Class 2A "probable carcinogen" as demonstrated by the
 6   mechanistic evidence of carcinogenicity in humans and sufficient evidence of
     -carcinogenicity-in animals.                                       -           -
 8        57.      The IARC's full Monograph was published on July 29, 2015 and
 9    established glyphosate as a class 2A probable carcinogen to humans. According
10    to the authors glyphosate demonstrated sufficient mechanistic evidence
11    (genotoxicity and oxidative stress) to warrant a 2A classification based on
12    evidence of carcinogenicity in humans and animals.
13       58.       The IARC Working Group found an increased risk between
14   exposure to glyphosate and non-Hodgkin's lymphoma ("NHL") and several
15   subtypes of NHL, and the increased risk continued after adjustment for other
16   pesticides.
17       59.       The IARC also found that glyphosate caused DNA and
18   chromosomal damage in human cells.
19                           EaYlier Evidence of Glyphosate's Danger
20       60.       Despite the new classification by the IARC, Defendant has had
21   ample evidence of glyphosate and Roundup's genotoxic properties for decades.
22       61.       Genotoxicity refers to chemical agents that are capable of
23   damaging the DNA within a cell through genetic mutations, which is a process
24   that is believed to lead to cancer.
25       62.       In 1997, Chris Clements published "Genotoxicity of select
26   herbicides in Rana catesbeiana tadpoles using the alkaline single-cell gel DNA
27   electrophoresis (comet) assay."
28      63.        The study found that tadpoles exposed to Roundup showed
     significant DNA damage when compared with unexposed control animals.
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 1       64.      Both human and animal studies have shown that glyphosate and
 2   glyphosate-based formulations such as Roundup can induce oxidative stress.
 3       65.      Oxidative stress and associated chronic inflammation are believed
 4   to be involved in carcinogenesis.
 5       66.      The IARC Monograph notes that "[s]trong evidence exists that
 6   glyphosate, AMPA and glyphosate-based formulations can induce oxidative


 8      67.       In 2006, Paz-y-Miiio published a study examining DNA damage in
 9   human subjects exposed to glyphosate.
10      68.       The study produced evidence of chromosomal damage in blood
11   cells showing significantly greater damage after exposure to glyphosate than
12   before in the same individuals, suggesting that the glyphosate formulation used
13   during aerial spraying had a genotoxic effect on exposed individuals.
14      69.      The IARC Monograph reflects the volume of evidence of
15   glyphosate pesticides' genotoxicity noting "[t]he evidence for genotoxicity
16   caused by glyphosate-based formulations is strong."
17      70.      Despite knowledge to the contrary, Defendant maintains that there
18   is no evidence that Roundup is genotoxic, that regulatory authorities and
19   independent experts are in agreement that Roundup is not genotoxic, and that
20   there is no evidence that Roundup is genotoxic.
21      71.      In addition to glyphosate and Roundup's genotoxic properties,
22   Defendant has long been aware of glyphosate's carcinogenic properties.
23      72.      Glyphosate and Roundup in particular have long been associated
24   with carcinogenicity and the development of numerous forms of cancer,
25   including, but not limited to, non-Hodgkin's lymphoma, Hodgkin's lymphoma,
26   multiple myeloma, and soft tissue sarcoma.
27      73.      Defendant has known of this association since the early to mid-
28   1980s and numerous human and animal studies have evidenced the
     carcinogenicity of glyphosate and/or Roundup.
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 1         74.         In 1985 the EPA studied the effects of glyphosate in mice finding a
 2     dose related response in male mice linked to renal tubal adenomas, a rare tumor.
 3     The study concluded the glyphosate was oncogenic.
 4         75.         In 2003 Lennart Hardell and Mikael Eriksson published the results
 5     of two case controlled studies on pesticides as a risk factor for NHL and hairy
 6     cellleukemia.
--7-       76—         T-he- study-concluded- that -glyphosate- had- tke- most- significant --
 g     relationship to NHL among all herbicides studies with an increased odds ratio of
 9     3.11.
10         77.         In 2003 AJ De Roos published a study examining the pooled data
11     of mid-western farmers, examining pesticides and herbicides as risk factors for
12     NHL.
13        78.          The study, which controlled for potential confounders, found a
14     relationship between increased NHL incidence and glyphosate.
15        79.          In 2008 Mikael Eriksson published a population based case-control
16     study of exposure to various pesticides as a risk factor for NHL.
17        80.          This strengthened previous associations between glyphosate and
18     NHL.
19        81.          In spite of this knowledge, Defendant continued to issue broad and
20     sweeping statements suggesting that Roundup was, and is, safer than ordinary
21     household items such as table salt, despite a lack of scientific support for the
22     accuracy and validity of these statements and, in fact, voluminous evidence to
23     the contrary.
24        82.          Upon information and belief, these statements and representations
25     have been made with the intent of inducing Plaintiffs, the agricultural
26     community, and the public at large to purchase and increase the use of
27     Defendant's Roundup for Defendant's pecuniary gain, and in fact, did induce
28     Plaintiffs to use Roundup.


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    1       83.       Defendant made these statements with complete disregard and
    2    reckless indifference to the safety of Plaintiffs and the general public.
    3
    4       84.       Notwithstanding Defendant's representations, scientific evidence
    5    has established a clear association between glyphosate and genotoxicity,
    6    inflammation, and an increased risk of many cancers, including, but not limited
7       -to, NHL,
                —Multiple-Myeloma,—and-soft-tissue-sarcoma.                                  --
    8       85.       Defendant knew or should have known that glyphosate is
    9    associated with an increased risk of developing cancer, including, but not
10       limited to, NHL, Multiple Myeloma, and soft tissue sarcomas.
11          86.       Defendant failed to appropriately and adequately inform and warn
12       Plaintiffs of the serious and dangerous risks associated with the use of and
13       exposure to glyphosate and/or Roundup, including, but not limited to, the risk of
14       developing NHL, as well as other severe and personal injuries, which are
15      permanent and/or long-lasting in nature, cause significant physical pain and
16      mental anguish, diminished enjoyment of life, and the need for medical
17      treatment, monitoring and/or medications.
18          87.       Despite the IARC's classification of glyphosate as a class 2A
19      probable carcinogen, Defendant continues to maintain that glyphosate and/or
20      Roundup is safe, non-carcinogenic, non-genotoxic, and falsely warrant to users
21      and the general public that independent experts and regulatory agencies agree
22      that there is no evidence of carcinogenicity or genotoxicity in glyphosate and
23      Roundup.
24          88.       Defendant has claimed and continue to claim that Roundup is safe,
25      non-carcinogenic, and non-genotoxic. These misrepresentations are consistent
26      with Defendant's cavalier approach to investigating and ensuring the safety of
27      its products, the safety of the public at large, and the safety of Plaintiffs.
28


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 1
 2           Scientific Fraud Underlying the Safety Determinations of Glyphosate
 3           89. After the EPA's 1985 classification of glyphosate as possibly
 4    carcinogenic to humans (Group C), Monsanto exerted pressure upon the EPA
 5    to change its classification.
 6           90. This culminated in the EPA's reclassification of glyphosate to
 7_   Group_E,_wh-ich-was-based-upon-evidence-of-non=carcinogenicity-in humans.—
 8           91. In so classifying, the EPA stated that "[i]t should be emphasized,
 9    however, that designation of an agent in Group E is based on the available
10    evidence at the time of evaluation and should not be interpreted as a definitive
11    conclusion that the agent will not be a carcinogen under any circumstances."
12           92. On two occasions, the EPA found that laboratories hired by
13    Monsanto to test the toxicity of its Roundup products for registration purposes
14    committed scientific fraud.
15           93. In the first instance, Monsanto hired Industrial Bio-Test
16    Laboratories ("IBT") to perform and evaluate pesticide toxicology studies
17    relating to Roundup. IBT performed approximately 30 tests on glyphosate and
18    glyphosate-containing products, including 11 of the 19 chronic toxicology
19    studies needed to register Roundup with the EPA.
20          94. In 1976, the Food and Drug Administration ("FDA") performed an
21    inspection of IBT and discovered discrepancies between the raw data and the
22    final report relating to toxicological impacts of glyphosate. The EPA
23    subsequently audited IBT and determined that the toxicology studies
24    conducted for Roundup were invalid. An EPA reviewer stated, after finding
25    "routine falsification of data" at IBT, that it was "hard to believe the scientific
26    integrity of the studies when they said they took specimens of the uterus from
27    male rabbits."
28


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 1             95. Three top executives of IBT were convicted of fraud in 1983.
 2             96. In the second incident, Monsanto hired Craven Laboratories
 3     ("Craven") in 1990 to perform pesticide and herbicide studies, including
 4     several studies on Roundup.
 5             97. In March of 1991, the EPA announced that it was investigating
 6     Craven for "allegedly falsifying test data used by chemical firms to win EPA


 8             98: The investigation lead to the indictments of the laboratory owner
 9     and a handful of employees.
10             Monsanto's Continuing Disregardfor the Safety of Decedent and The
11                                                        Public
12           99.      Monstanto claims on its website that "[r]egulatory authorities and
13   independent experts around the world have reviewed numerous long-
14   term/carcinogenicity and genotoxicity studies and agree that there is no
15   evidence that glyphosate, the active ingredient in Roundup brand herbicides and
16   other glyphosate-based herbicides, causes cancer, even at very high doses, and
17   that it is not genotoxic."lo
18           100. Ironically, the primary source for this statement is a 1986 report by
19   the WHO, the same organization that now considers glyphosate to be a probable
20   carcinogen.
21           101. Glyphosate, and Defendant's Roundup products in particular, have
22   long been associated with serious side effects and many regulatory agencies
23   around the globe have banned or are currently banning the use of glyphosate
24   herbicide products.
25           102. Defendant's statements proclaiming the safety of Roundup and
26   disregarding its dangers misled Plaintiffs.
27           103. Despite Defendant's knowledge that Roundup was associated with
28

     Io
        Backgrounder - Glyphosate: No Evidence of Carcinogenicity. Updated November 2014. (downloaded October 9
     2015)                                    Complaint and Demand for Jury

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  1   an elevated risk of developing cancer, Defendant's promotional campaigns
  2   focused on Roundup's purported "safety profile.
  3             104. Defendant's failure to adequately warn Plaintiffs resulted in (1)
  4    Decedent Plaintiff using and being exposed to glyphosate instead of using
  5    another acceptable and safe method of controlling unwanted weeds and pests;
  6    and (2) scientists and physicians failing to warn and instruct consumers about
__7    the risk of cancer, includinglNHL,_and-other-injuries-assoeiated with Roundup.—
  8             105. Defendant failed to seek modification of the labeling of Roundup
  9    to include relevant information regarding the risks and dangers associated with
 10    Roundup exposure.
 11             106. The failure of Defendant to appropriately warn and inform the EPA
 12    has resulted in inadequate warnings in safety information presented directly to
 13    users and consumers.
 14             107. The failure of Defendant to appropriately warn and inform the EPA
 15    has resulted in the absence of warning or caution statements that are adequate
 16    to protect health and the environment.
 17             108. The failure of Defendant to appropriately warn and inform the EPA
 18    has resulted in the directions for use that are not adequate to protect health and
 19    the environment.
 20             109. By reason of the foregoing acts and omissions, Plaintiffs seek
 21    compensatory damages as a result of Decedent Plaintiff's use of, and exposure
 22    to, Roundup which caused or was a substantial contributing factor in causing
 23    Decedent Plaintiff to suffer from cancer, specifically NHL, and Plaintiffs
 24    suffered severe and personal injuries which are permanent and lasting in
 25    nature, physical pain and mental anguish, including diminished enjoyment of
 26    life.
 27             110. By reason of the foregoing, Plaintiffs are severely and pennanently
 28    injured.


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 1           111. By reason of the foregoing acts and omissions, Plaintiffs have
 2     endured and, in some categories continue to suffer, emotional and mental
 3     anguish, medical expenses, and other economic and non-economic damages, as
 4     a result of the actions and inactions of the Defendant.
 5                               Decedent's Exposure to Roundup
 6           112. Decedent Mr. Wallace used Roundup beginning in approximately
 7
 8           113. For years, Decedent sprayed Roundup on a regular basis. Decedent
 9     followed all safety and precautionary warnings during the course of use.
10           114. Decedent was subsequently diagnosed with NHL and died as a
11     result of the NHL on December 24, 2020.
12           115. The development of Decedent's NHL was proximately and actually
13     caused by exposure to Defendant's Roundup products.
14           116. As a result of his injury, Decedent died and Plaintiffs have incurred
15     significant economic and non-economic damages.
16           EQUITABLE TOLLING OF APPLICABLE STATUTE OF
17           LIMITATIONS
18           117. Plaintiffs incorporate by reference all prior paragraphs of this
19     Complaint as if fully set forth herein.
20           118. The running of any statute of limitations has been tolled by reason
21     of Defendant's fraudulent concealment. Defendant, through its affirmative
22     misrepresentations and omissions, actively concealed from Decedent and
23     Plaintiffs the true risks associated with Roundup and glyphosate.
24           119. At all relevant times, Defendant has maintained that Roundup is
25     safe, non-toxic, and non-carcinogenic.
26           120. Indeed, even as of July 2016, Defendant continued to represent to
27 i   the public that "Regulatory authorities and independent experts around the
28 I   world have reviewed numerous long term/carcinogenicity and genotoxicity


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      studies and agree that there is no evidence that glyphosate, the active
 2    ingredient in Roundup® brand herbicides and other glyphosate-based
 3    herbicides, causes cancer, even at very high doses, and that it is not genotoxic"
 4    (emphasis added).11
 5            121. As a result of Defendant's actions, Decedent and Plaintiffs were
 6    unaware, and could not reasonably know or have learned through reasonable
 7   _ diligence _that_Roundup -and/or—g-lyphosate- contact,- -exposed Decederif and -
 8    Plaintiffs to the risks alleged herein and that those risks were the direct and
 4
      proximate result of Defendant's acts and omissions.
10            122. Furthermore, Defendant is estopped from relying on any statute of
11    limitations because of its fraudulent concealment of the true character, quality
12    and nature of Roundup. Defendant was under a duty to disclose the true
13    character, quality, and nature of Roundup because this was non-public
14    information over which Defendant had and continues to have exclusive
15    control, and because Defendant knew that this information was not available to
16    Decedent or Plaintiffs or to distributors of Roundup. In addition, Defendant is
17    estopped from relying on any statute of limitations because of its intentional
18    concealment of these facts.
19            123. Decedent and Plaintiffs had no knowledge that Defendant was
20    engaged in the wrongdoing alleged herein. Because of the fraudulent acts of
21    concealment of wrongdoing by Defendant, Decedent and Plaintiffs could not
22    have reasonably discovered the wrongdoing at any time prior. Also, the
23    economics of this fraud should be considered. Defendant had the ability to and
24    did spend enormous amounts of money in furtherance of its purpose of
25    marketing,        promoting        and/or       distributing       a    profitable       herbicide,
26    notwithstanding the known or reasonably known risks. Decedent, Plaintiffs,
27    and medical professionals could not have afforded and could not have possibly
28

     ' Backgrounder - Glyphosate: No Evidence of Carcinogenicity. Updated November 2014. (downloaded October 9
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 1    conducted studies to determine the nature, extent, and identity of related health
 2    risks, and were forced to rely on only the Defendant's representations.
 3    Accordingly, Defendant is precluded by the discovery rule and/or the doctrine
 4    of fraudulent concealment from relying upon any statute of limitations.
 5                                FIRST CAUSE OF ACTION
 6                                       (NEGLIGENCE)
 7      ___ 124. Plaintiffs_-incorpor-ate- b-y- -r-eference-each--and--everyallegatioo set—
 g    forth in the preceding paragraphs as if fully stated herein.
 9          125. Defendant had a duty to exercise reasonable care in the designing,
10    researching, testing,    manufacturing, marketing,             supplying,   promoting,
11    packaging, sale, and/or distribution of Roundup into the stream of commerce,
12    including a duty to assure that the product would not cause users to suffer
13    unreasonable, dangerous side effects.
14          126. Defendant failed to exercise ordinary care in the designing,
15    researching, testing,    manufacturing, marketing,             supplying,   promoting,
16    packaging, sale, testing, quality assurance, quality control, and/or distribution
17    of Roundup into interstate commerce in that Defendant knew or should have
18    known that using Roundup created a high risk of unreasonable, dangerous side
19    effects, including, but not limited to, the development of NHL, as well as other
20    severe and personal injuries which are permanent and lasting in nature,
21    physical pain and mental anguish, including diminished enjoyment of life, as
22    well as need for lifelong medical treatment, monitoring, and/or medications.
23          127. The negligence by the Defendant, its agents, servants, and/or
24    employees, included but was not limited to the following acts and/or
25    omissions:
26
27          a. Manufacturing, producing, promoting, formulating, creating, and/or
               designing Roundup without thoroughly testing it;
28


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 1           b. Failing to test Roundup and/or failing to adequately, sufficiently, and
                properly test Roundup;
 2
 3           c. Not conducting sufficient testing programs to determine whether or
                not Roundup was safe for use; in that Defendant herein knew or
 4              should have known that Roundup was unsafe and unfit for use by
 5              reason of the dangers to its users;
 6
             d. Not conducting sufficient testing programs and studies to determine _
 7_             Roundup's__carcinogenie-properties—everi - after- Defendant had
 g              knowledge that Roundup is, was, or could be carcinogenic;

 9           e. Failing to conduct sufficient testing programs to determine the safety
10              of "inert" ingredients and/or adjuvants contained within Roundup,
11              and the propensity of these ingredients to render Roundup toxic,
                increase the toxicity of Roundup, whether these ingredients are
12              carcinogenic, magnify the carcinogenic properties of Roundup, and
13              whether or not "inert" ingredients and/or adjuvants were safe for use;
14           f. Negligently failing to adequately and correctly warn the Plaintiffs, the
15              public, the medical and agricultural professions, and the EPA of the
                dangers of Roundup;
16
17           g. Negligently failirig to petition the EPA to strengthen the warnings
18              associated with Roundup;

19           h. Failing to provide adequate cautions and warnings to protect the
20              health of users, handlers, applicators, and persons who would
                reasonably and foreseeably come into contact with Roundup;
21
22           i. Negligently marketing, advertising, and recommending the use of
23              Roundup without sufficient knowledge as to its dangerous
                propensities;
24
25           j. Negligently representing that Roundup was safe for use for its
                intended purpose, and/or that Roundup was safer than ordinary and
26              common items such as table salt, when, in fact, it was unsafe;
27
28           k. Negligently representing that Roundup had equivalent safety and
                efficacy as other forms of herbicides;

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 1          1. Negligently designing Roundup in a manner, which was dangerous to
               its users;
 2
 3          m. Negligently manufacturing Roundup in a manner, which was
               dangerous to its users;
 4
 5          n.     Negligently producing Roundup in a manner, which was dangerous
 6                 to its users;

 7_ __ _ _ _o.. _Negligen-tl-yfor-mulating-Roundup -ina inarmer,which wasdhngerous
 g               to its users;

 9          p. Concealing information from the Plaintiffs while knowing that
10             Roundup was unsafe, dangerous, and/or non-conforming with EPA
               regulations;
11
12          q. Improperly concealing and/or misrepresenting information from the
13             Plaintiffs, scientific and medical professionals, and/or the EPA,
               concerning the severity of risks and dangers of Roundup compared to
14             other forms of herbicides; and
15
            r. Negligently selling Roundup with a false and misleading label.
16
            128. Defendant under-reported, underestimated, and downplayed the
17
     serious dangers of Roundup.
18
            129. Defendant negligently and deceptively compared the safety risks
19
     and/or dangers of Roundup with common everyday foods such as table salt,
20
     and other forms of herbicides.
21
            130. Defendant was negligent and/or violated Missouri law in the
22
     designing, researching, supplying, manufacturing, promoting, packaging,
23
     distributing, testing, advertising, warning, marketing, and selling of Roundup
24
     in that they:
25
26
           a. Failed to use ordinary care in designing and manufacturing Roundup
27           so as to avoid the aforementioned risks to individuals when Roundup
28           was used as an herbicide;

           b. Failed to accompany its product with proper and/or accurate warnings
              regarding all possibl@o,%Oyq& jji,i,kdqffW4s associated with the use of
                                             24
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 1               Roundup;

 2           c. Failed to accompany its product with proper warnings regarding all
 3              possible adverse side effects concerning the failure and/or
                malfunction of Roundup;
 4
 5           d. Failed to accompany its product with accurate warnings regarding the
 6              risks of all possible adverse side effects concerning Roundup;

_7    ___e-F-ailed_to-warn Plaintiffs--of-the-severity-and duratidn of such adverse
 g           effects, as the warnings given did not accurately reflect the
             symptoms, or severity of the side effects including, but not limited to,
 9           the development of NHL;
10
             f. Failed to conduct adequate testing, clinical testing and post-marketing
11
                surveillance to determine the safety of Roundup;
12
13           g• Failed to conduct adequate testing, clinical testing, and post-
                marketing surveillance to determine the safety of Roundup's "inert"
14              ingredients and/or adjuvants;
15
             h. Negligently misrepresented the evidence of Roundup's genotoxicity
16
                and carcinogenicity; and
17
18           i. Was otherwise careless and/or negligent.
          131.    Despite the fact that Defendant knew or should have known that
19
20
     Roundup caused, or could cause, unreasonably dangerous side effects,
     Defendant continued and continues to market, manufacture, distribute, and/or
21
22
     sell Roundup to consumers, including Decedent.
         132.     Defendant knew or should have known that consumers such as
23
     Decedent would foreseeably suffer injury as a result of Defendant's failure to
24
25
     exercise ordinary care, as set forth above.

26
         133.     Neither Plaintiffs nor Decedent knew the nature and extent of the
     injuries that could result from the intended use of and/or exposure to Roundup
27
28   or its active ingredient glyphosate.


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 1       134.     Defendant's violations of law and/or negligence were the
 2   proximate cause of Decedent and Plaintiffs' injuries, harm and economic loss,
 3   which Plaintiffs suffered and/or will continue to suffer.
 4       135.     Defendant's conduct, as described above, was reckless. Defendant
 5   regularly risks the lives of consumers and users of its products with full
 6   knowledge of the dangers of its products. Defendant has made conscious
_7__ _decision _not-to-redesign,—re-label,—warn,—or-inform -tlle- unsuspecting public.-
 8   Defendant's reckless conduct therefore warrants an award of punitive damages.
 9       136.     As a result of the foregoing acts and omissions, Decedent suffered
10   from serious and dangerous side effects including, but not limited to, NHL, as
11   well as other severe and personal injuries, physical pain and mental anguish,
12   diminished enjoyment of life, and financial expenses for hospitalization and
13   medical care.
14       137.     WHEREFORE, Plaintiffs respectfully request that this Court enter
15   judgment in Plaintiffs' favor for compensatory and punitive damages, together
16   with interest, costs herein incurred, attorneys' fees, and all such other and
17   further relief as this Court deems just and proper.
18                             SECOND CAUSE OF ACTION
19                (STRICT PRODUCTS LIABILITY DESIGN DEFECT)
20           138. Plaintiffs incorporate by reference each and every allegation set
21    forth in the preceding paragraphs as if fully stated herein.
22          139. At all times herein mentioned, the Defendant designed, researched,
23    manufactured, tested, advertised, promoted, sold, distributed Roundup as
24    hereinabove described that was used by the Decedent.
25          140. Defendant's Roundup was expected to and did reach the usual
26    consumers, handlers, and persons coming into contact with said product
27    without substantial change in the condition in which it was produced,
28    manufactured, sold, distributed, and marketed by the Defendant.


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 1         141. At those times, Roundup was in an unsafe, defective, and
 2   inherently dangerous condition, which was dangerous to users, and in
 3   particular, Decedent.
 4         142. The    Roundup    designed,         researched,   manufactured,   tested,
 5   advertised, promoted, marketed, sold, and distributed by Defendant was
 6   defective in design or formulation in that, when it left the hands of the
 7   manufacturer and/or suppliers,--thefor-eseeable-risks--exceeded -the benefits --
 8   associated with the design or formulation of Roundup.
 9         143. The    Roundup    designed,         researched,   manufactured,   tested,
10   advertised, promoted, marketed, sold, and distributed by Defendant was
11   defective in design and/or formulation, in that, when it left the hands of the
12   Defendant manufacturers and/or suppliers, it was unreasonably dangerous,
13   unreasonably dangerous in normal use, and it was more dangerous than an
14   ordinary consumer would expect.
15         144. At all times herein mentioned, Roundup was in a defective
16   condition and unsafe, and Defendant knew or had reason to know that said
17   product was defective and unsafe, especially when used in the form and
18   manner as provided by the Defendant. In particular, Defendant's Roundup was
19   defective in the following ways:
20
21         a. When placed in the stream of commerce, Defendant's Roundup
              products were defective in design and formulation and, consequently,
22            dangerous to an extent beyond that which an ordinary consumer
23            would anticipate.
24
           b. When placed in the stream of commerce, Defendant's Roundup
25            products were unreasonably dangerous in that they were hazardous
26            and posed a grave risk of cancer and other serious illnesses when
              used in a reasonably anticipated manner.
27
28         c. When placed in the stream of commerce, Defendant's Roundup
              products contained unreasonably dangerous design defects and were
              not reasonably safe when used in a reasonably anticipated manner.
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 1
              d. Defendant did not sufficiently test, investigate, or study its Roundup
 2               products.
 3
              e. Exposure to Roundup presents a risk of harmful side effects that
 4               outweigh any potential utility stemming from the use of the
 5               herbicide.
 6
              f. Defendant new or should have known at the time of marketing its_ _
                 Roundup-products- -tllat-exposure to Roundupand- could result in
  g              cancer and other severe illnesses and injuries.

 9            g. Defendant did not conduct adequate post-marketing surveillance of
10               its Roundup products.
11
          145.     Defendant knew or should have known that at all times herein
12
      mentioned that Roundup was in a defective condition, and was and is inherently
13
      dangerous and unsafe.
14
          146.     Decedent was exposed to Defendant's Roundup products, as
15
      described above, without knowledge of Roundup's dangerous characteristics.
.16
          147.     At the time of the Decedent's use of and exposure to Roundup,
17
      Roundup was being used for the purposes and in a manner normally intended, as
18
      a broad-spectrum herbicide.
19
          148.     Defendant with this knowledge voluntarily designed its Roundup
20
      with a dangerous condition for use by the public, and in particular Decedent.
21
          149.     Defendant had a duty to create a product that was not unreasonably
22
      dangerous for its normal, intended use.
23
          150.     Defendant created a product that was and is unreasonably
24
      dangerous for its normal, intended use.
25
          151.     Defendant marketed and promoted a product in such a manner so
26
      as to make inherently defective as the product downplayed its suspected,
27
      probable, and established health risks inherent with its normal, intended use.
28


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 1       152.     The    Rouridup    designed,         researched,   manufactured,   tested,
 2   advertised, promoted, marketed, sold, and distributed by Defendant was
 3   manufactured defectively in that Roundup left the hands of Defendant in a
 4   defective condition and was unreasonably dangerous to its intended users.
 5       153.     The    Roundup     designed,         researched,   manufactured,   tested,
 6   advertised, promoted, marketed, sold, and distributed by Defendant reached its
     intended users in_the same_defecti-ve-and-unr-easonably-dangerous--condition iri
     which the Defendant's Roundup was manufactured.
         154.     Defendant designed, researched, manufactured, tested, advertised,
10   promoted, marketed, sold, and distributed a defective product, which created an
11   unreasonable risk to the health of consumers and to Decedent in particular, and
12   Defendant is therefore strictly liable for the injuries sustained by the Decedent.
13       155.     Decedent could not, by the exercise of reasonable care, have
14   discovered Roundup's defects herein mentioned or perceived its danger.
15       156.     By reason of the foregoing, the Defendant has become strictly
16' liable to the Plaintiffs for the manufacturing, marketing, promoting, distribution,
17   and selling of a defective product, Roundup.
18       157.     Defendant's defective design, of Roundup amounts to willful,
19   wanton, and/or reckless conduct by Defendant.
20       158.     Defects in Defendant's Roundup were the cause or a substantial
21   factor in causing Decedent's injuries and, but for Defendant's misconduct and
22   omissions, Decedent would not have sustained these injuries.
23       159.     As a result of the foregoing acts and omission, Decedent developed
24   NHL, and suffered severe and personal injuries, physical pain and mental
25   anguish, including diminished enjoyment of life, and financial expenses for
26   hospitalization and medical care.
27       160.     WHEREFORE, Plaintiffs respectfully request that this Court enter
28   judgment in Plaintiffs' favor for compensatory and punitive dainages, together


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  1    I
           with interest, costs herein incurred, attorneys' fees and all such other and further
  2        relief as this Court deems just and proper.
  3                                     THIRD CAUSE OF ACTION
  4                     (STRICT PRODUCT LIABILITY FAILURE TO WARN)
  5            161.     Plaintiffs incorporate by reference each and every allegation set
  6        forth in the preceding paragraphs as if fully state herein.
— 7-               162. _Defendant_ -has—engaged -in--the--business- of -sel-lirig,- -testing;
  8         distributing, supplying, manufacturing, marketing, and/or promoting Roundup,
  9,        and through that conduct have knowingly and intentionally placed Roundup
 10         into the stream of commerce with full knowledge that it reaches consumers
 11         such as Decedent who are exposed to it through ordinary and reasonably
 12         foreseeable uses.
 13                163. Defendant did in fact sell, distribute, supply, manufacture, and/or
 14         promote Roundup to Decedent. Additionally, Defendant expected the Roundup
 15         that it was selling, distributing supplying, manufacturing, and/or promoting to
 16         reach - and Roundup did in fact reach - consumers, including Decedent,
 17         without any substantial change in the condition of the product from when it
 18         was initially distributed by Defendant.
 19                164. At the time of manufacture, Defendant could have provided the
 20         warnings or instructions regarding the full and complete risks of Roundup and
 21         glyphosate-containing products because it knew or should have known of the
 22         unreasonable risks of harm associated with the use of and/or exposure to such
 23         products.
 24               165. At all times herein mentioned, the aforesaid product was defective
 25         and unsafe in manufacture such that it was unreasonably dangerous to the user,
 26         and was so at the time it was distributed by Defendant and at the time
 27         Decedent was exposed to and/or ingested the product. The defective condition
 28         of Roundup was due in part to the fact that it was not accompanied by proper


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 1   warnings regarding its carcinogenic qualities and possible side effects,
 2   including, but not limited to, developing NHL as a result of exposure and use.
 3          166. Roundup did not contain a warning or caution statement, which
 4   was necessary and, if complied with, was adequate to protect the health of
 5   those exposed in violation of 7 U.S.C. §136j(a)(1)(E).
 6          167. Defendant's failure to include a warning or caution statement
 7   which was necessary and, if compliedwith,- was adequate-to-protect-thehealth--- --
 8   of those exposed, violated 7 U.S.C. §136j(a)(1)(E) as well as the laws of the
 91 I State of Missouri.
10          168. Defendants could have amended the label of Roundup to provide
11   additional warnings.
12          169. This defect caused serious injury to Decedent, who used Roundup
13   in its intended and foreseeable manner.
14          170. At all times herein mentioned, Defendant had a duty to properly
15   design, manufacture, compound, test, inspect, package, label, distribute,
16   market, examine, maintain, supply, provide proper warnings, and take such
17   steps to assure that the product did not cause users to suffer from unreasonable
18   and dangerous side effects.
19          171. Defendant labeled, distributed, and promoted the aforesaid product
20   that it was dangerous and unsafe for the use and purpose for which it was
21   intended.
22          172. Defendant failed to warn of the nature and scope of the side effects
23   associated with Roundup, namely its carcinogenic properties and its propensity
24   to cause or serve as a substantial contributing factor in the development of
25   NHL.
26          173. Defendant was aware of the probable consequences of the aforesaid
27   conduct. Despite the fact that Defendant knew or should have known that
28   Roundup caused serious injuries, Defendant failed to exercise reasonable care
     to warn of the dangerous carcinogenic properties and side effect of developing
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 1    NHL from Roundup exposure, even though these side effects were known or
 2    reasonably scientifically knowable at the time of distribution. Defendant
 3    willfully and deliberately failed to avoid the consequences associated with its
 4    failure to warn, and in doing so, Defendant acted with a conscious disregard
 5    for the safety of Decedent.
 6            174. At the time of exposure, Decedent could not have reasonably
 7    discovered any defect in Roundup -prior _thr-ough- the- exercise -of -reasonable- -
 8    care.
 9            175. Defendant, as the manufacturer and/or distributor of the subject
10    product, is held to the level of knowledge of an expert in the field.
11            176. Decedent reasonably relied upon the skill, superior knowledge, and
12    judgment of Defendant. Had Defendant properly disclosed the risks associated
13    with Roundup products, Decedent would have avoided the risk of NHL by not
14    using Roundup products.
15            177. The information that Defendant did provide or communicate failed
16    to contain adequate warnings and precautions that would have enabled
17    Decedent, and similarly situated individuals, to utilize the product safely and
18    with adequate protection. Instead, Defendant disseminated information that
19    was inaccurate, false, and misleading and which failed to communicate
20    accurately or adequately the comparative severity, duration, and extent of the
21    risk of injuries associated with use of and/or exposure to Roundup and
22    glyphosate; continued to promote the efficacy of Roundup, even after it knew
23    or should have known of the unreasonable risks froin use or exposure; and
24    concealed, downplayed, or otherwise suppressed, through aggressive
25    marketing and promotion, any information or research about the risks and
26    dangers of exposure to Roundup and glyphosate.
27            178. To this day, Defendant has failed to adequately warn of the true
28    risks of Decedent's injuries associated with the use of and exposure to
      Roundup.
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      1          179. As a result of its inadequate warnings, Defendant's Roundup
      2   products were defective and unreasonably dangerous when they left the
      3   possession and/or control of Defendant, were distributed by Defendant, and
      4   used by Plaintiff.
      5          180. As a direct and proximate result of Defendant's actions as alleged
      6   herein, and in such other ways to be later shown, the subject product caused
      7   Decedent to sustain injuries as herein alleged.. - - --- - -- - - - - - - - - - - - - - - - - - -
--    8
      9          181. WHEREFORE, Plaintiffs respectfully request that this Court enter
     10   judgment in Plaintiffs' favor for compensatory and punitive damages, together
     11   with interest, costs herein incurred, attorneys' fees and all such further relief as
     12   this Court deems just and proper.
     13                                 FOURTH CAUSE OF ACTION
     14                          (BREACH OF IMPLIED WARRANTIES)
     15          182. Plaintiffs incorporate by reference each and every allegation set
     16   forth in the preceding paragraphs as if fully stated herein.
     17          183. At all times herein mentioned, the Defendant manufactured,
     18   distributed, compounded, recommended, merchandized, advertised, promoted,
     19   and sold Roundup as a broad spectrum herbicide. These actions were under the
     20   ultimate control and supervision of Defendant.
     21          184. At the time Defendant marketed, sold, and distributed Roundup for
     22   use by Decedent, Defendant knew of Roundup's intended use and impliedly
     23   warranted the product to be or merchantable quality and safe and fit for this
     24   use.
     25          185. The Defendant impliedly represented and warranted to Decedent
     26   and users of Roundup, the agricultural community, and/or the EPA that
     27   Roundup was safe and of inerchantable quality and fit for the ordinary purpose
     28   for which it was to be used.


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 1          186. These representations and warranties were false, misleading, and
 2    inaccurate in that Roundup was unsafe, unreasonably dangerous, not of
 3    merchantable quality, and defective.
 4          187. Decedent did rely on said implied warranty of inerchantability of
 5    fitness for particular use and purpose.
 6          188. Decedent reasonably relied upon the skill and judgment of
 7    Defendant as to whether Roundup was_of_merchantable-quality and safe-and fit --
 8    for its intended use.
 9          189. Roundup was injected into the stream of commerce by the
10    Defendant in a defective, unsafe, and inherently dangerous condition, and the
11    products' materials were expected to and did reach users, handlers, and persons
12    coming into contact with said products without substantial change in the
13    condition in which they were sold.
14          190. The Defendant breached the aforesaid implied warranties, as its
15    herbicide Roundup was not fit for its intended purposes and uses.
16          191. As a result of the foregoing acts and omissions, Decedent suffered
17    from NHL and suffered severe and personal injuries, physical pain and mental
18    anguish, including diminished enjoyment of life, financial expenses for
19    hospitalization and medical care, including medical expenses and other
20    economic, and noneconomic damages.
21          192. WHEREFORE, Plaintiffs respectfully request that this Court enter
22    judgment in Plaintiffs' favor for compensatory and punitive damages, together
23    with interest, costs herein incurred, attorneys' fees and all such other and
24    further relief as this Court deems just and proper.
25                                FIFTH CAUSE OF ACTION
26                            (BREACH OF EXPRESS WARRANTY)
27          193. Plaintiffs incorporate by reference each and every allegation set
28    forth in the preceding paragraphs as if fully stated herein.


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 1           194. At all relevant and material times, Defendant manufactured,
 2    distributed, advertised, promoted, and sold Roundup.
 3           195. At all relevant times, Defendant intended that the Defendant's
 4    Roundup be used in the manner that Decedent used it, and Defendant expressly
 5    warranted that each Roundup product was safe and fit for use by consumers,
 6    that it was of -merchantable quality, that its health and side effects were
 7    minimal, and that it was adequately_ tested- and fit for-tis- intended- use: - - - - - - - - - - - - - - - - - --
 8           196. At all relevant times, Defendant was aware that consumers,
 9    including Decedent, would use Roundup products; which is to say that
10    Decedent was a foreseeable user of the Defendant's Roundup products.
11           197. Decedent purchased Roundup manufactured by Defendant.
12           198. Defendant's Roundup products were expected to reach and did in
13    fact reach consumers, including Decedent, without any substantial change in
14    the condition in which it was manufactured and sold by Defendant.
15           199. Defendant expressly warranted that Roundup was safe and not
16    dangerous to users.
17           200. Defendant expressly represented to Decedent, Plaintiffs, scientists,
18    the agricultural community, and/or the EPA that Roundup was safe and fit for
19    use for the purposes intended, that it was of inerchantable quality, that it did
20    not produce dangerous side effects in excess of those risks associated with
21    other forms of herbicides, that the side effects it did produce were accurately
22    reflected in the warnings, and that it was adequately tested and fit for its
23    intended use.
24           201. Defendant breached various express warranties with respect to
25    Roundup including the following particulars: a) Defendant Monsanto's website
26    expressly states that "[r]egulatory authorities and independent experts around
27    the world have reviewed numerous long term/carcinogenicity and genotoxicity
28    studies and agree that there is no evidence that glyphosate, the active
      ingredient in Roundup brand herbicides and other glyphosate based herbicides,
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 1        causes cancer, even at very high doses, and that it is not genotoxic"12 b)
 2        Defendant has expressly warrantied that Roundup is "safer than table salt" and
 3        "practically nontoxic."13
 4              202. Round up did not conform to these express representations because
 5        Roundup was not safe and had, at all relevant times, an increased risk of
 6        serious side effects, including NHL, when used according to Defendant's
 7        instructions.                                                               -- - - - - - - -- - - - -- - --
 8              203. Defendant fraudulently concealed information from Decedent
 9        regarding the true dangers and relative risks of Roundup.
10              204. The global scientific community is not, and was never, in
11        agreement that Roundup is non-carcinogenic.
12              205. Decedent did rely on the express warranties of the Defendant
13        herein.
14              206. Decedent, consumers, and members of the agricultural community
15        relied upon the representation and warranties of the Defendant for use of
16        Roundup in recommending, using, purchasing, lnixing, handling, applying,
17        and/or dispensing Roundup.
18              207. The Defendant herein breached the aforesaid express warranties, as
19        its product Roundup was defective.
20              208. Defendant knew or should have known that, irl fact, said
21        representations and warranties were false, misleading, and untrue in that
22        Roundup was not safe and fit for the use intended, and, in fact, produced
23        serious injuries to the users that were not accurately identified and represented
24        by Defendant.
25              209. Defendant knew or should have known that, in fact, said warranties
26        were false, misleading, and untrue in that there is evidence that Roundup is
27
28
     lZ http://www.monsanto.com/glyphosate/documents/no-evidence-of-carcinogenicity.pdf October 8, 2015.

     13   Reuters, Jun 14, 2015 UPDATE 2-Frencl (M}A~ggta~,§~MAJqggr~elling Monsanto Roundup weedkiller.

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 1    toxic, genotoxic, and carcinogenic and that scientists and/or regulatory
 2    authorities around the world are not in agreement that Roundup is not
 3    carcinogenic or genotoxic and that it is safe.
 4           210. As a result of the foregoing acts and omissions, the Decedent
 5    suffered from life threatening NHL and suffered severe and personal injuries,
 6    physical pain and mental anguish, including diminished enj oyment of life, and
 7    fmancial expenses for hospitalization and_ medical- care.- - - - - - - - - - - - - - - - - - -
 8           211. As a result of the foregoing acts and omissions, Plaintiffs have
 9    suffered and incurred damages, including medical expenses and other
10    econoinic and non-economic damages.
11           212. WHEREFORE, Plaintiffs respectfully request that this Court enter
12    judgment in Plaintiffs' favor for compensatory and punitive damages, together
13    with interest, costs herein incurred, attorneys' fees and all such other and
14    further relief as this Court deems just and proper.
15                                   SIXTH CAUSE OF ACTION
16                                      (WRONGFUL DEATH)
17           213. Plaintiffs incorporate by reference each and every allegation set
18    forth in the preceding paragraphs as if fully stated herein.
19           214. Plaintiffs bring this claiin on behalf of and for the benefit of
20    Decedent's lawful beneficiaries.
21           215. Plaintiffs bring this action for wrongful death of Decedent, who
22    used Defendant's product and was injured and died as a result. Decedent was
23    supplied with, and used said products as tested, studied, researched, evaluated,
24    endorsed, designed, formulated, coinpounded, manufactured, produced,
25    processed, assembled, inspected, distributed, marketed, labeled, promoted,
26    packaged, advertised for sale, prescribed, sold or otherwise placed in the
27    stream of interstate commerce by Defendants.
28           216. The injuries and damages of Plaintiffs and Decedent were caused
      by the wrongful acts, omissions, and fraudulent misrepresentations of
                                        Complaint and Demand for Jury

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         1    Defendants.
         2           217. As a direct and proximate result of the conduct of the Defendants
         3    and the defective nature of Roundup as outlined above, Decedent suffered
         4    bodily injury resulting in pain and suffering, disability, disfigureinent, mental
         5    anguish, loss of capacity of the enjoyment of life, shortened life expectancy,
         6    expenses for hospitalization, medical and nursing treatment, funeral expenses
                                                                                                      --
         7    anddeath.                                    ----------        -- ------ - ----------
-----    8           218. As a direct and proximate cause of the conduct of Defendant,
         9    Decedent's beneficiaries have incurred hospital, nursing and medical expenses,
        10    and estate administration expenses as a result of Decedent's death. Plaintiffs
        11    bring this claim on Decedent's lawful beneficiaries for these damages and for
        12    all pecuniary losses under applicable state statutory and/or common laws.
        13           219. AS a direct and proximate cause of the conduct of Defendant and
        14    the exposure to and/or ingestion of Defendant's product, Decedent suffered
        15    fatal injuries.
        16           220. As a result of the death of Decedent, Plaintiffs were deprived of
        17    love, companionship, comfort, support, affection, society, solace and moral
        18    support of Decedent.
        19           221. Plaintiffs are entitled to recover economic and non-economic
        20    damages against all Defendant for wrongful death directly and legally caused
        21    by the defects in Defendant's product and the negligent conduct, acts, errors,
        22    omissions and intentional and negligent misrepresentations of Defendants, and
        23    each of them.
        24           222. WHEREFORE, Plaintiffs respectfully request that this Court enter
        25    judgment in Plaintiffs' favor for compensatory and punitive damages, together
        26    with interest, costs herein incurred, attorneys' fees and all such other and
        27    further relief as this Court deems just and proper.
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         1                              SEVENTH CAUSE OF ACTION
         2                                   (SURVIVAL ACTION)
         3          223. Plaintiffs incorporate by reference each and every allegation set
         4    forth in the preceding paragraphs as if fully stated herein.
         5          224. As a direct and proximate result of the conduct of Defendant,
         6    where appropriate, Decedent, prior to his death, was obligated to spend various
         7    sums of money to treat his injuries, which_debts_have__been-assuined- by -the ---
--- --- -- 8- --Estate. As a direct and proximate cause of the aforesaid, Decedent endured
         9    pain and suffering, mental anguish and impairinent of the enjoyment of life,
        10    until the date of his death; and, as a direct and proximate result of the
        11    aforesaid, Decedent's lawful beneficiaries suffered a loss of earnings and
        12    earning capacity. Plaintiffs brings this claim on behalf of Decedent's estate
        13    under applicable state statutory and/or common laws.
        14          225. As a direct and proximate result of the conduct of Defendant,
        15    Decedent and his spouse and heirs, until the time of his death, suffered a
        16    disintegration and deterioration of the family unit and the relationships existing
        17    therein, resulting in enhanced anguish, depression and other symptoms of
        18    psychological stress and disorder.
        19          226. As a direct and proximate result of the aforesaid, and including the
        20    observance of the suffering and physical deterioration of Decedent until the
        21    date of his death, Plaintiffs have and will continue to suffer permanent and
        22    ongoing psychological damage which may require future psychological and
        23    medical treatment. Plaintiff Rachel Field, Decedent's daughter and Personal
        24    Representative of the estate of his, brings the claim on behalf of the estate for
        25    damages under applicable statutory and/or common laws, and in her own right.
       26           227. WHEREFORE, Plaintiffs respectfully request that this Court enter
       27     judgment in Plaintiffs' favor for compensatory and punitive damages, together
       28     with interest, costs herein incurred, attorneys' fees and all such other and
              further relief as this Court deems just and proper.
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     1                                    PRAYER FOR RELIEF
     2            WHEREFORE, Plaintiffs request that the Court enter judgment in their
     3      favor and against Defendant, awarding Plaintiffs:
     4            1. Compensatory damages in excess of the jurisdictional amount,
     5      including, but not limited to pain, suffering, emotional distress, loss of
     6      enjoyment of life, and other noneconomic damages in an amount to be
     7      determined at trial and as provided by applicable_law;
--- --8 -         2. Compensatory damages to Plaintiffs for past and future damages,
     9      including, but not limited to, Plaintiffs' pain and suffering and for severe and
    10      permanent personal injuries sustained by the Plaintiffs including health care
    11      costs and economic loss, in an amount to be determined at trial and as provided
    12      by applicable law;
    13            3. Economic damages in the form of inedical expenses, out of pocket
    14      expenses, and other economic damages in an anount to be determine at trial of
    15      this action;
    16            4. Punitive and/or exemplary damages for the wanton, willful,
    17      fraudulent, and reckless acts of the Defendant who demonstrated a complete
    18      disregard and reckless indifference for the safety and welfare of the general
    19      public and to the Plaintiffs in an amount sufficient to punish Defendant and
    20      deter future similar conduct, to the extent allowed by applicable law;
    21            5. Pre judgment interest;
    22            6. Post judgment interest;
    23            7. Awarding Plaintiffs' reasonable attorneys' fees;
    24            8. Awarding Plaintiffs the costs of these proceedings; and
    25            9. Such other and further relief as this Court deeins just and proper.
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 1                           DElVIAND FOR JURY TRIAL
 2     Plaintiffs hereby demand tray by jury as to all issues.
 3
 4 Dated: February 10, 2021                   FRANTZ LAW GROUP, APLC
 5                                            s/ Jaines P. Frantz, Esq.
                                              Jarrles P. Frantz, Esq.
 6                                            Willia.m B. Shinoff, Esq.
 7                                            AttorneYs_ _for
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